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                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA
                        TALLAHASSEE DIVISION

BILLY MORRISON,

             Plaintiff,

v.                                            CASE NO.: 4:18cv576-MW/CAS

THE FLORIDA DEPARTMENT
OF CORRECTIONS,

          Defendant.
_________________________/

 ORDER ON ISSUE PRECLUSION AND ORDER REQUIRING PARTIES
        TO FILE BRIEFS ON RE-OPENING DISCOVERY

      This Court required the parties to submit supplemental briefing on the issue

of whether the doctrine of collateral estoppel should apply to prevent Defendant

from re-litigating the issue of Defendant’s deliberate indifference to the serious

medical needs of inmates with hepatitis C based upon the final judgment and

permanent injunction in Hoffer v. Inch, No. 4:17-cv-214-MW-CAS (N.D. Fla. Apr.

18, 2019), ECF No. 465. After reviewing the parties’ briefs, ECF Nos. 131 & 134,

and considering the issue at the February 27, 2020, pretrial conference, this Court

finds that, based on the current evidentiary record in this case, a “material

differentiating fact that would alter the legal inquiry” may exist such to preclude the

application of the doctrine as to the issue of Defendant’s deliberate indifference to

Plaintiff’s hepatitis C. See F.T.C. Nat’l Urological Grp., 785 F.3d 477, 482 (11th
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Cir. 2015) (quoting CSX Transp., Inc. v. Bhd. of Maint. of Way Emps., 327 F.3d

1309, 1317 (11th Cir. 2003)).

       Specifically, unlike the private medical contractors in Hoffer that had to go

directly to Defendant for approval of non-formulary prescription drugs, Geo Group’s

contract to operate the Graceville Correctional Facility provides that “an

appropriately qualified CONTRACTOR representative will stand in place of the

[Defendant] to review and approve or deny [Drug Exception Requests].” ECF No.

54-30 at 35. Plaintiff was incarcerated at the Graceville Correction Facility from

October 13, 2015, until his transfer to a facility operated by Defendant for purposes

of receiving treatment on January 25, 2018. See ECF No. 66-2 at 5. 1 Accordingly,

this Court finds that the doctrine of issue preclusion cannot apply to the issue of

whether Defendant was deliberately indifferent to Plaintiff’s hepatitis C during the


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         Plaintiff was incarcerated at the Blackwater Correctional Facility, another prison operated
by Geo Group, when he consented to HCV treatment on September 15, 2015. ECF No. 66-2 at 5.
Based on this Court’s review of Geo Group’s contract for the Blackwater Correctional Facility, it
does not appear as though a Geo Group representative could approve a Drug Exception Request.
Compare ECF No. 54-29 at 62–63 (Blackwater Contract) (“Compliance with the DC’s Drug
Exception Request (DER) policy is required prior to prescribing any non-formulary medications.”)
with ECF No. 54-30 at 35 (Graceville Contract) (“Compliance with the DC’s Drug Exception
Request (DER) policy is required prior to prescribing non-formulary medications with one
exception; an appropriately qualified CONTRACTOR representative will stand in place of the DC
to review and approve or deny DER.”) (emphasis added). Although it would appear there would
be may be no material differentiating fact between the Hoffer case and the Drug Exception Request
policy in place at the Blackwater Correctional Facility, this Court declines to apply the doctrine of
issue preclusion as to Defendant’s deliberate indifference with respect to this issue due to the
limited time during which Plaintiff was incarcerated at the Blackwater Correctional Facility
between his consent to treatment and his transfer to Graceville Correctional Facility and the
ambiguous nature of the record.

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time he was incarcerated in facilities operated by Geo Group given the current state

of the record inasmuch as Plaintiff bears the burden in arguing in support of

offensive issue preclusion. See CSX Transp., Inc., 327 F.3d at 1317.

      Critically, however, the evidentiary record before this Court is undeveloped

as to why the “appropriately qualified CONTRACTOR representative” denied

treatment for Plaintiff. Although it is undisputed that Geo Group was required to

adhere to Defendant’s health service bulletins (“HSBs”), including the HSBs related

to treatment of hepatitis C that this Court found unconstitutional in Hoffer, there is

no record evidence as to the reason Geo Group adhered to this unconstitutional

policy rather than exceeding its requirements in order to provide constitutionally

adequate treatment for Plaintiff’s hepatitis C. For one, Geo Group’s contract to

operate the Graceville Correctional Facility is ambiguous on how much discretion,

if any, this Geo Group representative exercised in approving or denying Drug

Exception Requests. Compare ECF No. 54-30 at 35 (“[A]n appropriately qualified

CONTRACTOR representative will stand in place of the DC to review and approve

or deny DER.”) with ECF No. 54-30 at 36 (“[Geo Group] shall strictly comply with

the DC’s formulary in all cases unless the DC approves a medication exception

request.”). Moreover, incredibly, neither party deposed the Geo Group




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representative who made the decision to deny the Drug Exception Request for

Plaintiff’s treatment. 2

       The reason for Geo Group’s denial of treatment for Plaintiff’s treatment would

seem to be of central importance to the parties’ claims and defenses. Plaintiff’s

theory is that Geo Group—like the private contractors in Hoffer—denied treatment

based on Defendant’s financial concerns over the cost of the treatment. Defendant’s

theory is that Geo Group’s denial of treatment had nothing to do with Defendant’s

concern over the cost of the treatment. For the reasons set forth above, a reasonable

jury could infer either scenario to be true based on the ambiguous evidentiary record.

There may be good reason for the parties to favor this state of affairs. There may

also be good reason to re-open discovery for the limited purpose of ascertaining the

reason why Geo Group’s representative denied the requests for Plaintiff’s treatment.

See Hickman v. Taylor, 329 U.S. 495, 501 (1947) (explaining litigation is a “search

for truth”). Accordingly, the parties are ordered to file briefs explaining their

respective positions as to whether this Court should continue the trial and re-open

discovery for this limited purpose on or before March 4, 2020.




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         Based on deposition testimony of Dr. Jorge Luis Alvarez and Defendant’s 30(b)(6)
representative, it appears this “appropriately qualified CONTRACTOR representative was “Dr.
Kennedy,” a physician for Correct Care Solutions. See ECF No. 86-1 at 29–30; ECF No. 98-2 at
40–41, 127. Defendant has not even listed a “Dr. Kennedy” on its list of potential trial witnesses.
See ECF No. 136–2 at 1–4. Plaintiff listed Dr. Scott Kennedy on his list of potential witnesses. See
ECF No. 136-4 at 4.
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For these reasons,

IT IS ORDERED:

1. Defendant is not estopped from arguing that it was not deliberately

   indifferent to Plaintiff’s hepatitis C.

2. The parties shall file briefs on the issue of whether this Court should

   continue the trial and re-open discovery for the limited purpose of

   ascertaining the reason why Geo Group’s representative denied the

   requests for Plaintiff’s treatment. The briefs shall be filed on or before

   March 4, 2020.

SO ORDERED on February 28, 2020.

                                  s/Mark E. Walker               ____
                                  Chief United States District Judge




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